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   1 Scott S. Humphreys (SBN 298021)
     BALLARD SPAHR LLP
   2 2029 Century Park East, Suite 800
   3 Los Angeles, CA 90067
     Telephone: 424-204-4333
   4 Fax: 424-204-4350
     Email: humphreyss@ballardspahr.com
   5
   6 Attorneys for Defendant
     ASSOCIATED NEWSPAPERS LTD.
   7
   8
   9                                UNITED STATES DISTRICT COURT
  10              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  11
  12
  13 RUMBLE, INC.,                                   Case No. 2:17-cv-04977 PSG (SKx)
  14                         Plaintiff,              ANSWER OF DEFENDANT
  15            vs.                                  ASSOCIATED NEWSPAPERS LTD.

  16 THE DAILY MAIL AND GENERAL
     TRUST PLC and its subsidiary,
  17 ASSOCIATED NEWSPAPERS LTD
  18 dba THE DAILY MAIL,
     DAILYMAIL.COM and
  19 MAILONLINE, and DOES 1-10,
     inclusive,
  20
                           Defendants.
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   1            Defendant Associated Newspapers Limited (“Defendant” or “ANL”),
   2 hereby submits its Answer to Plaintiff’s First Amended Complaint (the “Amended
   3 Complaint”). Except as expressly and specifically admitted herein, Defendant
   4 denies each and every allegation of the Amended Complaint.
   5                                        INTRODUCTION
   6            Plaintiff’s statements in the “Introduction” to the Amended Complaint are
   7 prefatory, and not allegations to which a response is required. To the extent a
   8 response is required, Defendant denies the allegations in the “Introduction.”
   9                                         THE PARTIES
  10            1.       Defendant admits, upon information and belief, the allegations in
  11 paragraph 1 of the Amended Complaint.
  12            2.       Defendant The Daily Mail and General Trust PLC has not been
  13 served, and has not appeared in this lawsuit; therefore, no response is required to
  14 the allegations in paragraph 2 of the Amended Complaint.
  15            3.       Defendant admits that it is a limited liability company organized
  16 under the laws of England and Wales, with a place of business at the address
  17 alleged; that it owns the print publication, The Daily Mail, and the internet
  18 publication, MailOnline, which is available at the website www.dailymail.co.uk;
  19 and that it maintains pages on various social media websites. Defendant lacks
  20 sufficient information to form a belief as to the truth or falsity of how Plaintiff
  21 generates revenue and on that basis denies such allegations. Defendant denies the
  22 remaining allegations in paragraph 3 of the Amended Complaint.
  23            4.       Defendant admits that its website may be viewed in the United States
  24 and directs the Court to Exhibit A of the Amended Complaint for the true and
  25 correct contents therein. Defendant denies the remaining allegations in paragraph 4
  26 of the Amended Complaint.
  27            5.       Defendant admits that its content is available on a smartphone “app”
  28 that is available from Apple iTunes and does not dispute for purposes of this action

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   1 that this Court has personal jurisdiction over it. Defendant denies the remaining
   2 allegations in paragraph 5 of the Amended Complaint.
   3            6.       Defendant does not dispute Plaintiff’s assertion that Plaintiff is
   4 ignorant of ANL’s relationship with other entities, and states that paragraph 6 of
   5 the Amended Complaint otherwise asserts legal conclusions or questions of fact to
   6 which no response is required. To the extent a response is required, Defendant
   7 denies the allegations in paragraph 6 of the Amended Complaint.
   8                                 JURISDICTION AND VENUE
   9            7.       Defendant admits that Plaintiff’s remaining cause of action arises
  10 under the copyright laws of the United States and that this Court has jurisdiction
  11 over that cause of action. Defendant denies the remaining allegations in
  12 paragraph 7 of the Amended Complaint.
  13            8.       Defendant admits that venue is proper in this district. Defendant
  14 denies the remaining allegations in paragraph 8 of the Amended Complaint.
  15                             FACTS COMMON TO ALL CLAIMS
  16            9.       Defendant lacks sufficient information to form a belief as to the truth
  17 or falsity of the allegations in paragraph 9 of the Amended Complaint, and on that
  18 basis denies them.
  19            10.      Defendant lacks sufficient information to form a belief as to the truth
  20 or falsity of the allegations in paragraph 10 of the Amended Complaint, and on
  21 that basis denies them.
  22            11.      Defendant lacks sufficient information to form a belief as to the truth
  23 or falsity of the allegations in paragraph 11 of the Amended Complaint, and on
  24 that basis denies them.
  25            12.      Defendant lacks sufficient information to form a belief as to the truth
  26 or falsity of the allegations in paragraph 12 of the Amended Complaint, and on
  27 that basis denies them.
  28

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   1            13.      Defendant lacks sufficient information to form a belief as to the truth
   2 or falsity of the allegations in paragraph 13 of the Amended Complaint, and on
   3 that basis denies them.
   4            14.      Defendant lacks sufficient information to form a belief as to the truth
   5 or falsity of the allegations in paragraph 14 of the Amended Complaint, and on
   6 that basis denies them.
   7            15.      Defendant lacks sufficient information to form a belief as to the truth
   8 or falsity of the allegations in paragraph 15 of the Amended Complaint, and on
   9 that basis denies them.
  10            16.      Defendant lacks sufficient information to form a belief as to the truth
  11 or falsity of the allegations in paragraph 16 of the Amended Complaint, and on
  12 that basis denies them.
  13            17.      Defendant admits that Plaintiff and Defendant entered into the License
  14 Agreement on or about September 1, 2014 and that Plaintiff made payments to
  15 Defendant and refers the Court to Exhibit B of the Amended Complaint for the true
  16 and correct contents therein. Defendant denies the remaining allegations in
  17 paragraph 17 of the Amended Complaint.
  18            18.      Defendant admits that Ms. Angelica Asplund, on Defendant’s behalf,
  19 sent a letter to Plaintiff on or about April 9, 2015 to terminate the License
  20 Agreement and refers the Court to Exhibit C of the Amended Complaint for the
  21 true and correct contents therein. Defendant denies the remaining allegations in
  22 paragraph 18 of the Amended Complaint.
  23            19.      Defendant admits that Plaintiff sent emails to its representatives and
  24 refers the Court to Exhibit D of the Amended Complaint for the true and correct
  25 contents therein. Defendant denies the remaining allegations in paragraph 19 of
  26 the Amended Complaint.
  27            20.      Defendant denies the allegations directed toward it in paragraph 20
  28 of the Amended Complaint.

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   1            21.      Defendant admits that it terminated the License Agreement. Defendant
   2 denies the remaining allegations in paragraph 21 of the Amended Complaint.
   3            22.      Defendant denies the allegations directed toward it in paragraph 22
   4 of the Amended Complaint.
   5            23.      Defendant denies that it has infringed Plaintiff’s copyrights, lacks
   6 sufficient information to form a belief as to the truth or falsity of the allegations
   7 concerning Plaintiff’s copyright registration allegations and on that basis denies
   8 such allegations, and states that the remaining allegations in paragraph 23 assert
   9 legal conclusions to which no response is required. To the extent a response is
  10 required, Defendant denies the remaining allegations directed toward it in
  11 paragraph 23 of the Amended Complaint.
  12            24.      Defendant denies the allegations directed toward it in paragraph 24
  13 of the Amended Complaint.
  14            25.      Defendant denies the allegations directed toward it in paragraph 25
  15 of the Amended Complaint.
  16                                  FIRST CLAIM FOR RELIEF
  17            26.      Defendant repeats and re-alleges its responses to foregoing paragraphs
  18 as if set forth herein in response to paragraph 26 of the Amended Complaint.
  19            27.      Defendant denies the allegations directed toward it in paragraph 27
  20 of the Amended Complaint.
  21            28.      Defendant denies the allegations directed toward it in paragraph 28
  22 of the Amended Complaint.
  23            29.      Defendant lacks sufficient information to form a belief as to the truth
  24 or falsity of the allegations in paragraph 29 of the Amended Complaint, and on
  25 that basis denies them.
  26            30.      Defendant denies the allegations directed toward it in paragraph 30
  27 of the Amended Complaint, and directs the Court to Exhibit F of the Amended
  28 Complaint for the true and correct contents therein.

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   1            31.      Defendant denies the allegations directed toward it in paragraph 31
   2 of the Amended Complaint.
   3            32.      Defendant denies the allegations directed toward it in paragraph 32
   4 of the Amended Complaint.
   5            33.      Defendant denies the allegations directed toward it in paragraph 33
   6 of the Amended Complaint.
   7            34.      Defendant denies the allegations directed toward it in paragraph 34
   8 of the Amended Complaint.
   9            35.      Defendant denies the allegations directed toward it in paragraph 35
  10 of the Amended Complaint.
  11            36.      Defendant denies the allegations directed toward it in paragraph 36
  12 of the Amended Complaint.
  13            37.      Defendant denies the allegations directed toward it in paragraph 37
  14 of the Amended Complaint.
  15            38.      Defendant denies the allegations directed toward it in paragraph 38
  16 of the Amended Complaint.
  17                                SECOND CLAIM FOR RELIEF
  18            39.      Defendant repeats and re-alleges its responses to the foregoing
  19 paragraphs as if set forth herein in response to paragraph 39 of the Amended
  20 Complaint.
  21            40.      Plaintiff’s claim for relief based on the allegations in paragraph 40
  22 of the Amended Complaint has been dismissed by the Court, and therefore no
  23 response is required to the allegations in paragraph 40 of the Amended Complaint.
  24
  25                                  AFFIRMATIVE DEFENSES
  26            By alleging the separate and additional defenses set forth below, Defendant
  27 is not in any way agreeing or conceding that it has the burden of proof or the
  28 burden of persuasion on any of these issues.

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   1                               FIRST AFFIRMATIVE DEFENSE
   2            1.       The Amended Complaint fails to state a claim upon which relief can
   3 be granted.
   4                             SECOND AFFIRMATIVE DEFENSE
   5            2.       Plaintiff’s claims are barred in whole or in part to the extent any
   6 copyright registrations asserted by Plaintiff as covering the Videos are invalid,
   7 untimely, and/or unenforceable.
   8                               THIRD AFFIRMATIVE DEFENSE
   9            3.       Plaintiff’s claims are barred in whole or in part by an express or
  10 implied license.
  11                             FOURTH AFFIRMATIVE DEFENSE
  12            4.       Plaintiff lacks standing to assert the claims herein.
  13                               FIFTH AFFIRMATIVE DEFENSE
  14            5.       Plaintiff’s claims are barred in whole or in part by the doctrine of
  15 fair use.
  16                               SIXTH AFFIRMATIVE DEFENSE
  17            6.       To the extent the Court finds any infringement or other wrongful
  18 conduct by Defendant, Defendant is entitled to a reduction of damages based on
  19 its innocent intent, including reductions in any statutory damages if so elected by
  20 Plaintiff.
  21                             SEVENTH AFFIRMATIVE DEFENSE
  22            7.       Plaintiff’s request for injunctive relief is barred by the lack of any
  23 irreparable harm from the purported conduct by Defendant.
  24                              EIGHTH AFFIRMATIVE DEFENSE
  25            8.       Plaintiff’s claims for more than one statutory damage award are
  26 barred by the provisions of the Copyright Act.
  27
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   1                              NINTH AFFIRMATIVE DEFENSE
   2            9.       Plaintiff’s claims are barred in whole or in part by the defense of
   3 statute of limitations.
   4                              TENTH AFFIRMATIVE DEFENSE
   5            10.      Plaintiff’s claims are barred by waiver, acquiescence, or equitable
   6 estoppel.
   7                           ELEVENTH AFFIRMATIVE DEFENSE
   8            11.      Plaintiff’s claims are barred in whole or in part by the First
   9 Amendment to the United States Constitution.
  10                            TWELFTH AFFIRMATIVE DEFENSE
  11            12.      Plaintiff’s claims are barred by the doctrine of unclean hands.
  12                          THIRTEENTH AFFIRMATIVE DEFENSE
  13            13.      Plaintiff’s claims are barred to the extent they seek statutory damages
  14 that, when measured against any actual damage suffered by Plaintiff, would be
  15 excessive, obviously unreasonable and wholly disproportionate in violation of the
  16 Due Process clause.
  17                          FOURTEENTH AFFIRMATIVE DEFENSE
  18            14.      Plaintiff’s Complaint fails to comply with Rule 8(a) of the Federal
  19 Rules of Civil Procedure.
  20                                   ADDITIONAL DEFENSES
  21            15.      Defendant hereby gives notice that, due to its incomplete knowledge
  22 as to the matters set forth in the Amended Complaint, it is unable to determine
  23 whether it has additional defenses not expressly enumerated in the preceding
  24 paragraphs or elsewhere in this Answer. Defendant thus expressly reserves its
  25 right to amend its Answer to assert any additional defenses and to rely upon those
  26 additional defenses to the extent they become available or apparent during
  27 discovery or further proceedings in this action.
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   1            WHEREFORE, Defendant respectfully requests that:
   2            1.       Plaintiff take nothing by this action and that Plaintiff’s Amended
   3 Complaint be dismissed in its entirety with prejudice;
   4            2.       Defendant be awarded its costs, including reasonable attorneys’ fees;
   5            3.       Such other and further relief as the Court deems just and proper.
   6
   7 DATED: January 23, 2018                   BALLARD SPAHR LLP
   8
   9                                           By:     /s/ Scott S. Humphreys
                                                      Scott S. Humphreys
  10
                                               Attorneys for Defendant
  11                                           ASSOCIATED NEWSPAPERS LTD.
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   1
                                    CERTIFICATE OF SERVICE
   2
                I hereby certify that on this 23rd day of January, 2018, I electronically
   3
       filed a true and correct copy of the foregoing ANSWER OF DEFENDANT
   4
       ASSOCIATED NEWSPAPERS LTD. through the Court’s CM/ECF system,
   5
       which will send a notice of electronic filing to all counsel in the case who are
   6
       registered CM/ECF users.
   7
   8
   9
  10
                                                   /s/ Scott S. Humphreys
  11                                              Scott S. Humphreys
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